Case 2:07-cr-02042-WFN   ECF No. 550   filed 07/15/08   PageID.2187 Page 1 of 6
Case 2:07-cr-02042-WFN   ECF No. 550   filed 07/15/08   PageID.2188 Page 2 of 6
Case 2:07-cr-02042-WFN   ECF No. 550   filed 07/15/08   PageID.2189 Page 3 of 6
Case 2:07-cr-02042-WFN   ECF No. 550   filed 07/15/08   PageID.2190 Page 4 of 6
Case 2:07-cr-02042-WFN   ECF No. 550   filed 07/15/08   PageID.2191 Page 5 of 6
Case 2:07-cr-02042-WFN   ECF No. 550   filed 07/15/08   PageID.2192 Page 6 of 6
